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GLOBAL CLAIMS SERVICES Houston, TX 77040-3253

Mr. Maury DeBont
Mr. Joe Risse

Mr. Mike Moreno
Sempra Energy
101 Ash Street

Tel 713 856-9227
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March 12, 2009

San Diego, California 92101

Mr. Scott Ray
Mr. Gil Madrid
Aker Kvaerner/IHI

Cameron LNG Receiving Terminal
Cameron Parish, Louisiana

Re: Insured:

Policy Nos.:

Policy Period:
Loss:

Loss Location:
Date of Loss:

MYI File No.

Gentlemen:

Sempra Energy and other Named Insureds
National Union Fire ins. Co. of Louisiana— ST-260-9712
AEGIS Ins. Services, Ltd — L0022B1A05

Allianz Global Risks US Ins. Co. — ATO 3006580
Commonwealth Ins. Co. —- NWME1128

Navigators Special Risk, Inc. — 05-NSRO-1045-01
Arch Specialty Ins. Co. - CAR0009987

9/15/2005 ~ 12/16/2008

Hurricane Ike- CAT#60

Hackberry, LA

09/13/2008

07.003119.MI

On behalf of National Union Fire Insurance Company of Louisiana, AEGIS Insurance
Services, Ltd., Allianz Global Risks US Insurance Company, Commonwealth Insurance
Company, Navigators Special Risk, Inc. on behalf of Millennium Syndicate at Lloyds #1221

EXHIBIT

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(70%) and Liberty Syndicate at Lloyds #4472 (30%), and Arch Specialty Insurance Company
(collectively the “Insurers”), we are writing to advise you, Sempra Energy, Cameron LNG
and Aker Kvaerner/IHl(collectively the “Insureds”) of the Insurers’ present position regarding
the claim made for the loss suffered as a result of Hurricane Ike on or about September 13,
2008, at the Cameron LNG Receiving Terminal in Cameron Parish, Louisiana (“Loss”), and
to reserve Insurers’ rights under the Policy, at law, in equity, or otherwise, waiving none.
The claim was submitted under the builder's risk policies identified above, effective
September 15, 2005, through December 16, 2008, covering the Cameron LNG Receiving
Terminal project in Cameron Parish, Louisiana (the respective separate policies of the
Insurers, including all Endorsements attached thereto, are collectively referred to herein as
the “Policy”).

Loss Details

This Loss relates to certain damage sustained on September 13, 2008, at Insured’s
Cameron LNG Receiving Terminal located in Cameron Parish, Louisiana (the “Project”) as a
result of Hurricane Ike’s landfall and associated storm surge.

As reported, the damage occurred to certain materials and equipment already permanently
incorporated into the Project. In addition, other equipment intended for use in the Project,
including various valves, pumps and pipes, were located at the Project Site but not yet
installed. These parts and materiais were staged in several areas near their intended
positions in the Project. A third category of damage occurred to parts and equipment
temporarily stored in an off-site pre-staging area approximately 1.5 miles away at a rented
storage facility. Hurricane Ike’s storm surge flooded the Project Site and off-site storage
facility, resulting in certain damage caused by exposure to saltwater and debris.

Applicable Policy Provisions

Based upon the information presently available concerning the Loss and the related claim
submitted, the Insurers have considered, among others, the following provisions of the
Policy:

POLICY SCHEDULE

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THE PROJECT:

The design, engineering, procurement, supply, delivery, erection,
construction, installation, commissioning and performance testing
and initial operations of THE CAMERON LNG RECEIVING
TERMINAL PROJECT IN CAMERON PARISH, LOUISIANA,
UNITED STATES OF AMERICA including all associated and/or
ancillary works in connection therewith.
 

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THE PROJECT SITE:

Cameron Parish, Louisiana, 2.25 miles north of Hackberry,
Louisiana, and approximately 15 miles south of Lake Charles,
Louisiana, near the coast of the Gulf of Mexico, or elsewhere in the
State of Louisiana in connection with the Project but specifically
including the Project laydown yard located approximately 1,000 feet
north of the Project site as well as temporary offsite warehouse
storage within a 25 mile radius of the Project site.

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DEDUCTIBLES:

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2. 2% of the value at risk subject to a minimum of
US$5,000,000 each and every loss in respect of Named
Windstorm and Fiood.

POLICY DEFINITIONS
1. Occurrence

Wherever the word occurrence appears in this Policy it shall
mean any occurrence or series of occurrences consequent
upon or attributable to one (1) source or original cause.

It is agreed that all Damage to the Insured Property
occurring during any one (1) period of seventy-two (72)
consecutive hours during the Period of Insurance directly
caused by named windstorm ... shall be deemed to have
been caused by a single occurrence and therefore constitute
one (1) loss for the purposes of this Policy.

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2. The Project Site
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Any place within the Territorial Limits to which the Insured
Property is delivered or where work is to be done (other than
manufacturers’ premises).

3. The Insured Property

All permanent and temporary works, preliminary works
(including associated works and Site mobilization) executed
or in the course of execution, including materials, goods,
parts, excavations, spare parts, inventory, consumables and
all other things, equipment of whatsoever nature used for or
intended to be used in the Project, including electricity, gas
and water connections, all designs, drawings, specifications
and plans to be provided, together with computer and
building services equipment, all other parts or units or
equipment, plant and machinery of whatever nature the
property of the Insured or for which they are responsible
(other than contractor's or subcontractor's constructional
plant and equipment) while on or adjacent to the Project Site
or elsewhere within the Territorial Limits, and all associated
and ancillary works connected therewith built, constructed,
erected, supplied, installed, repaired, revised, or otherwise
or in the course of being built, constructed, erected,
supplied, installed, repaired, revised, or otherwise,
commissioned, performance tested and brought into full
operation.

Materials shall include all raw and shaped materials,
including catalysts (but only for the actual cash value of the
catalyst at the time that indemnifiable Damage is sustained),
as well as finished parts, units, installations, machinery,
constructions and/or property of every kind and description
and/or parts, units, installations, machinery, constructions
and/or other property of every kind and description in course
of construction and/or while being otherwise worked upon.

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5. Damage

Damage shall mean physical damage, physical loss or
physical destruction.

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7. Named Windstorm and Associated Storm Surge’

Named Windstorm and Associated Storm Surge shall mean
an atmospheric disturbance marked by sustained wind
speeds of seventy-four miles per hour (74 mph) or greater or
is declared by the National Weather Service to be a
hurricane, typhoon or tropical cyclone, with or without
precipitation, including such events as hurricane, typhoon,
rainstorm, hailstorm, tornado or any combination of the
foregoing events, including any resulting flood, tidal or wave
action.

8. Normal Action of the Sea

Normal Action of the Sea shall mean the state of the sea that
manifests itself up to No. 8 on the Beaufort Wind Scale.

9. Wet Works
Wet Works shall mean marine and offshore work.

THE CONTRACT WORKS

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The Contract Works — Damage to Insured Property

This insurance will pay the cost of replacing or repairing or making
good the Insured Property or any part thereof while at the Project
Site physically lost, physically destroyed or physically Damaged in
any direct manner and by any cause whatsoever not hereinafter
excluded.

In the event of Damage to any item of the Insured Property for
which the Insurers are liable this Policy shall extend to include:

1. Named Windstorm and Associated Storm Surge

US$50,000,000 each and every loss and in the term
aggregate but increasing to US$85,000,000 per occurrence
and in the term aggregate at June 1, 2006.

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' Policy Definitions 7, 8, and 9 were added by Endorsement No. 2.
 

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5. Debris Removal and Associated Costs
Costs and expenses necessarily incurred by the Insured in:

a. Removal and disposal of debris detritus and material
foreign to the insured operations;

b. Dismantling and/or demolishing of any part of the
Insured Property including temporary storage of
dismantled or demolished property;

C. Shoring up propping and/or protecting Insured
Property whether Damaged or not;

d. The cost of repairing or clearing drains sewers service
mains and the like and/or dewatering;

e. The provision and maintenance of lights, audible
warnings, barriers, hoardings and the like;

f. Regaining access to original working conditions;
as the result of Damage that is indemnifiable by this Policy;

The maximum liability of the Insurers for Debris Removal
shall not exceed 25% of the loss with a maximum of
US$10,000,000 each and every loss.

6. Professional Fees

Architects, surveyors, legal, consulting engineers and other
fees necessarily incurred by the Insured for the replacement
and/or reinstatement as the result of Damage that is
indemnifiable by this Policy (but not for preparing any claim).
The maximum liability of the Insurers for Professional Fees
shall not exceed US$1,000,000 each and every loss,
excluding claims preparation costs.

7. Expediting Expenses and Airfreight

Costs and expenses incurred by the Insured in respect of
overtime rates and wages, express delivery including
airfreight, hire of additional labor or plant and equipment as
the result of Damage that is indemnifiable by this Policy.

 
 

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The maximum liability of the Insurers for Expediting
Expenses shall not exceed 15% of loss, with a maximum of
US$10,000,000 each and every loss.

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10. Additional Import and Customs Duties

Customs and excise duties, import taxes, freight, insurance
and similar charges as the Insured may incur in respect of
the procurement of goods, materials and services for the
reinstatement, replacement, repair, restoration or re-
commissioning as the result of Damage that is indemnifiable
by this Policy to the extent that such customs and excise
duties are included within the Sum Insured.

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SPECIAL CONDITIONS

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Storage of Materials

It is agreed that subject otherwise to the terms, exclusions and
conditions contained herein or endorsed hereon, that with regard to
the temporary storage of materials intended for the use and
construction of the Project, such materials shail be stored outside of
the fifty (50) year flood plain.

EXCLUSIONS

This Policy does NOT insure the following:

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4. Any loss of use or any other consequential loss.

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12. In respect of Damage to piers, jetties or other property being
constructed in, on, over or adjacent to coastal or tidal waters:

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b. The cost of re-dredging or re-profiling of a dredged
trench or area within the defined area of the project
unless accompanied by Damage caused by an
indemnifiable occurrence otherwise covered by this
Policy;

C. Damage due to the normal action of the sea in its
usual state or level at any time of the year which
however shall not be held to include Damage arising
out of cyclones, tempests, tidal waves, tsunami or
named windstorm.

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16. a. Penalties (including liquidated Damages) for

noncompletion or delay in completion or for
noncompliance with contract conditions;

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GENERAL CONDITIONS

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2. Claims Notification and Procedure

On the happening of any event giving rise or likely to give
rise to a claim under this Policy coming to the knowledge of
the Insured “1” in the Schedule the Insured “1” in the
Schedule shall:

a. Take precautions to prevent any further Damage;

b. Give notice thereof to the Insurers or their nearest
appointed representative as soon as possible;

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d. Preserve any things which might prove necessary or
useful by way of evidence in connection with any
claim, and so far as may be reasonably practicable,
no alteration or repair shall, without the consent of the
Insurers, be made after the event until the Insurers
shall have had an opportunity of inspection;
 

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e, When called upon to do so deliver to the Insurers or
their representative a statement in writing of all
particulars and details reasonably practicable of the
Property affected and the value thereof and the
Damage thereto and furnish all such vouchers,
proofs, explanations and other evidence as may be
reasonably required by the Insurers together with a
Statutory declaration if required in verification of the
statement;

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7. Payments on Account

It is agreed that at the request of the Insured the Insurers
will, subject to liability having been accepted and application
of the applicable Deductible, provide payment on account in
respect of any claim subject always to compliance with the
terms and conditions of this Policy.

The Insured shail provide to the Insurers such evidence as
may be required by the insurers to provide such payments
on account, for example but not limited to proof of loss with
supporting documentation, bills and accounts, for agreement
and approval.

Insurers’ Current Position

At this point in the investigation and adjustment process, based on their current
understanding of the facts, and after review of the above provisions, it is the Insurers’
present position that the Policy will respond to the Loss subject, of course, to all applicable
limits, sublimits, deductibles, exclusions or other applicable policy provisions, including,
without limitation, those referenced above. We have been instructed by the Insurers to
proceed with the investigation and adjustment of this matter accordingly subject to a full and
complete reservation of rights as explained herein.

As you know, Insurers have engaged certain consultants to assist in determining the extent
and amount of the covered Loss, as well as the applicable Deductible amount under the
Policy. Appointed accountants Buchanan Clarke Schlader, LLP made certain requests for
documents regarding the Loss on January 27, 2009, and February 2, 2009. | requested
further information and documents regarding the Loss in my letter dated February 5, 2009.
The requests for information and Support of the claim made to date should not be
considered our final requests, and further requests for information will be made as our
investigation and adjustment continues.
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We look forward to receiving all requested information, and invite you to submit any further
documents or information you believe will support your claim.

In the event that additional facts or information that would impact this analysis become
available in the future, the Insurers reserve the right to supplement this letter, and otherwise
reserve unto themselves all rights under the Policy, at law, in equity, or otherwise, waiving
none.

Sincerely,

Greg Presswood

McLarens Young International
Executive General Adjuster

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CC: Interested Insurers
Mr. Doug Shockley, Willis of Texas
